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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                    CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                           ORDER1

        This matter comes before the Court on Brown Laster, Jr.’s (“Laster”) Amended

 Request for Issuance of Subpoena without Cost to the Defendant (Doc. 278) filed on July

 3, 2017. The matter is ripe for review.

        Laster seeks an order directing the Clerk of Court to issue a subpoena to Gabriel

 Krug and for the U.S. Marshals Service to serve the subpoena. But, because 28 C.F.R.

 16.23(c) was deemed applicable, the Court requires the Government to file a response.

 As such, the Government shall file a response to Laster’s Amended Request for Issuance

 of a Subpoena without Cost to the Defendant (Doc. 278) on or before July 11, 2017 at

 5:00 p.m.

        Accordingly, it is now

        ORDERED:




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 websites. These hyperlinks are provided only for users’ convenience. Users are
 cautioned that hyperlinked documents in CM/ECF are subject to PACER fees. By
 allowing hyperlinks to other websites, this Court does not endorse, recommend, approve,
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 not affect the opinion of the Court.
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       The Government shall file a reply to Brown Laster, Jr.’s Amended Request for

 Issuance of Subpoena without Cost to the Defendant (Doc. 278) on or before July 11,

 2017 at 5:00 p.m.

       DONE AND ORDERED at Fort Myers, Florida, this July 7, 2017.




 Copies: Counsel of Record




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